Because the trial court did not make the R.C. 2929.14(E)(4) findings at the sentencing hearing, I respectfully disagree with the majority's conclusion that the trial court satisfied its duty by inserting the requisite findings in the journal entry of sentence. I have consistently held that such findings must be made on the record at the sentencing hearing. See State v. Riggs (Oct. 11, 2000), Summit App. No. 19846, unreported, at 7-9 (Whitmore, J., concurring in part, dissenting in part). Moreover, in Woods v. Telb (2000), 89 Ohio St.3d 504, paragraph two of the syllabus, the Supreme Court of Ohio mandated that a trial court "inform the defendant at sentencing or at the time of a plea hearing that post-release control is part of the defendant's sentence," thus reinforcing my dissent in Riggs that the findings and reasons, when required, be placed on the record at the sentencing hearing. (Emphasis added.) See, also, State v. Williams (2000), 136 Ohio App.3d 570, 572
(interpreting Edmonson as requiring the trial court to make the findings and give its reasons for imposing a maximum term of imprisonment on the record at the sentencing hearing and not merely in the judgment entry);State v. Martin (1999), 136 Ohio App.3d 355, 362-363.
Accordingly, I would sustain McLeod's assigned error and remand this case to the trial court with an order to set forth its findings at the sentencing hearing when imposing consecutive sentences.